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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERIKA NEWBY,

                         Plaintiff,

       v.                                                         CIVIL ACTION
                                                                  NO. 15-3880

RITA’S WATER ICE FRANCHISE
CORPORATION, et al.,

                         Defendants.


                                              ORDER

                AND NOW, this 6th day of October 2015, upon receipt of Plaintiff’s Notice of

Voluntary Dismissal (Doc. No. 8), it is ORDERED as follows:

       1.       The above-captioned case is DISMISSED WITHOUT PREJUDICE pursuant to

                Rule 41.1(a) of the Federal Rules of Civil Procedure.

       2.       The Clerk of Court shall close this case for statistical purposes.



                                                       BY THE COURT:


                                                       / s/ J oel H. S l om sk y
                                                       JOEL H. SLOMSKY, J.
